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Fill in this information to identify your case:

Debtor 1                      Larry Wilkson

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF LOUISIANA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Retired
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Larry Wilkson                                                                         Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00   $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00   $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00   $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00   $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00   $               N/A
     5e.    Insurance                                                                     5e.        $              0.00   $               N/A
     5f.    Domestic support obligations                                                  5f.        $              0.00   $               N/A
     5g.    Union dues                                                                    5g.        $              0.00   $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 + $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00   $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00   $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $          0.00       $               N/A
     8d. Unemployment compensation                                                        8d.        $          0.00       $               N/A
     8e. Social Security                                                                  8e.        $      1,986.00       $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                   N/A
     8g. Pension or retirement income                                                     8g. $                 0.00   $                   N/A
     8h. Other monthly income. Specify: Family assistance                                 8h.+ $              350.00 + $                   N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,336.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,336.00 + $           N/A = $          2,336.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         2,336.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
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     State of Louisiana
     Parish of Jefferson

                 AFFlDAVIT REGARDING PAY DEVICES AND CHANGE OF
                                CIRCUMSTANCES
             -                                                   .'




             We (!),Lo./(11 UJ: J/r;'7 ~                being duly sworn, do hereby attest that
     we (I) have provided aif the pay adv!ces from all our employers in our (my) possession,
     for the last six (6) months prior to filing bankruptcy. We (I) further disclose the
     following:

            Last six (6) months employers and Payment Pattern:


            Name & Address of Employer                                     Payment Frequency




            We (I) anticipate the following changes in circumstances over the next six (6) to
     twelve (12) months:




            Further affiant(s) sayeth not.




                 ORN TO AND SUBSCRIBED before me, Notary Public,             ~Q                   of



                                   !

                                          NOTARY PUBLIC
                                       (Phillip D. Rubins #17779)
                                       Commission expires at death

                                           Phillip D. Rubins
                                            Attorney at Law
                                          4051 Veterans Blvd.
                                               Suite 305
                                          Metairie, LA 70002
              Case 23-10150 DocYour
                               9 FiledNew
                                      02/01/23 EnteredAmount
                                           Benefit     02/01/23 08:02:09 Main Document Page 4 of 4


 BENEFICIARY'S NAME: LARRY WILKSON
four Social Security benefit will increase by 8.7% in 2023 because of a rise in the cost of
iving. You can use this letter as proof of your benefit amount if you need to apply for food, rent,
)r energy assistance. You can also use it to apply for bank loans or for other business. Keep this
tetter with your important financial records.
 Hqw Much You Will Get
       . ~
     Yqu:r monthly benefit before deductions                                                                     T
                                                                                                                                 $2,159.90
                                                                                                  )              "
     D~ductions:                                                                                                     .
                                                                                                                     )



. M:e¢icare Medical Insurance (If you did not have Medicare as of N overriber; 1:1,1                                                 -$164.90
  2022 or if someone.else pays yow premimµ, we show $0.00) > ·           •   .i :.
  ¥edicare Prescription Drug Plan (We will notify you if the amount changes                                          ·fn
 . 2023. If you did not elect withholding as of November 1, 2022, we show $0~00)
ti
     U.S. Federal tax withholding
                                                                                                                                      I


     Vol~ntary Federal tax withhoRling (If you did not elect voluntary tax                                                            I   -$0.00
     withholding as of November lV, 2022, we show $0.00)

     After we take any dther d~dqctj.oµ~ 5zqU.~WiJl·r~ceive · · · ·. · ....·..- __ ' _                  1
                                                                                                            .        •   ·   -       $1,959.20
     the payment you are-duefor De¢enifief:2022 ···on or aboµt January)(); ~Q*P·,
                               ''    .   .   .    .   -   .        •        ~' ~ ~ ;' : <'..· -       ) •   -~   ·, -


                                                 : '-                                                                            i
                                                                                                                                 \

 The information above shows your monthly benefit amount before and after deductions.
 Please remember, we will pay you in the month following the month for ~hich it is due.                                                            i'"
                                                                                                                                                   ;




     [f you still get a paper check, you must visit the Department of the Treasury's website at
     '1J'Ww.godirect.gov to request electron~c.paymentH.

     J you disagree with any of these amounts, you ,must file an appeal with us in writing within
                                                                                                                                                   ;\

     >O days from the date you get this letter. !We will assume you got this'letter 5 days after the '                                             "
     late of the lett<tr, unless you show us that yoµ qid not get it within the 5-day period. Ym.'J. must
     iave good reason for waiting more than 60 days to file an appeal. You can go to www.ssa.gov/
     ion-medical/appeal to complete ~d subll}it the "Request for Reconsideration" form, SSA-
     161-U2 onlin;e. You ma_y;ralso contact us by ~hone to request the form or go to our website at
      vww.ssa.g·op/fonns to locate the form. If ybu need help with the form, please call us. ·         ·

     Need more help?
     1. Visit www.ssa.gov for fast, simple,· and secure online service.
     2. Call us at 1-800-772-1213, weekdeys from 8:00 am to 7:00 pm. If you are
        deaf or hard of hearing, call TTY 1;~800-325-0778. Please mention this
        letter when you call.               ,
     3. You may also call your local office 'atl-888-850-2232.
                                                              ·~


              SOCIAL SECURITY
              1616 JOE YENNI BLVD
              KENNER LA 70065
